8:09-cr-00048-LES-TDT   Doc # 172   Filed: 12/10/10    Page 1 of 1 - Page ID # 614



           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:09CR48
                              )
          v.                  )
                              )
ROBERTO CAMACHO-GUTIERREZ,    )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

to extend the time for filing an answer to defendant’s amended

motion under 28 U.S.C. § 2255 (Filing No. 171).               The Court finds

the motion should be granted.        Accordingly,

           IT IS ORDERED that plaintiff’s motion is granted;

plaintiff shall have until January 10, 2011, to respond to

defendant’s motion.

           DATED this 10th day of December, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
